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                                                            October 19, 2021
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 8                         UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10
11   DOLORES PADILLA,                         Case No. 5:19-cv-01379 SB (SPx)
12                 Plaintiff,                 JUDGMENT IN FAVOR OF
                                              DEFENDANT PERATON, INC.
13        v.
14   PERATON, INC., MARIE MASSEY,
     LESLIE SPEEKS and DOES 1 to 100,
15   inclusive,                               Trial Date: October 7, 2021
16                 Defendants.
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 1         Following a five-day jury trial, the jury returned a unanimous verdict in favor of
 2   Defendant Peraton, Inc. All other defendants were dismissed with prejudice previously.
 3         BASED ON THE FOREGOING, IT IS HEREBY ADJUDGED that based on
 4   the jury’s verdict as referenced above, Plaintiff shall take nothing by way of her
 5   operative First Amended Complaint and judgment shall be and hereby is entered in
 6   Defendant Peraton, Inc.’s favor as to all causes of action asserted against it in this action.
 7         IT IS HEREBY FURTHER ADJUDGED that Defendant Peraton, Inc. may
 8   seek to recover costs pursuant to Rule 54 of the Federal Rules of Civil Procedure, and
 9   Central District Local Rule 54-1, et seq., and Plaintiff Dolores Padilla expressly reserves
10   the right to submit objections or motions challenging any such request.
11         IT IS SO ORDERED.
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14   DATED: 10/19/2021                        ________________________________
15                                            HON. STANLEY BLUMENFELD, JR.
                                              CENTRAL DISTRICT OF CALIFORNIA
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